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                              THE UNITED STATES DISTRICT
                               COURT FOR THE NORTHERN
                                DISTRICT OF NEW MEXICO
                                 ALBUQUERQUE DIVISION

   LASHANNA SEXTON,                     §
                                        §                        Case No.: 1:21-cv-868
                   Plaintiff,           §
         vs.                            §                        JURY TRIAL DEMANDED
                                        §
                                        §
                                        §
   DREAM STREET, L.L.C. d/b/a TD’S GOLD §
   EUBANK and DAVID A STREUBEL,         §
                                        §
                 Defendants.            §
                                        §

                            PLAINTIFF’S ORIGINAL COMPLAINT

          Plaintiff LASHANNA SEXTON (“Plaintiff”) Original Complaint alleging the

following upon information and belief, based upon investigation of counsel, published reports,

and personal knowledge:

   I.      NATURE OF THE ACTION

           1.      Plaintiff alleges causes of action against Defendants DREAM STREET, L.L.C.

   D/B/A TD’S GOLD EUBANK and DAVID A STREUBEL (“Defendants”) for damages

   resulting from Defendants evading the mandatory minimum wage and overtime provisions of

   the Fair Labor Standards Act, 29 U.S.C. §§ 201, et seq.(“FLSA”) and illegally absconding

   with Plaintiff’s tips.

           2.      Defendants own and operates a strip Club named TD’S GOLD EUBANK.

   These causes of action arise from Defendant’s willful actions while Plaintiff was employed

   by Defendant from approximately 2017 through March 17, 2020. Throughout her

   employment with Defendant, Plaintiff has been denied minimum wage payments and denied

   overtime as part of Defendant’s scheme to classify Plaintiff and other dancers/entertainers as

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    “independent contractors.” As the Department of Labor explained in a recent Administrative

    Interpretation:

                 Misclassification of employees as independent contractors is found in
                 an increasing number of workplaces in the United States, in part
                 reflecting larger restructuring of business organizations. When
                 employersimproperly classify employees as independent contractors,
                 the employees may not receive important workplace protections such
                 as the minimum wage, overtime compensation, unemployment
                 insurance, and workers’compensation. Misclassification also results in
                 lower tax revenues for government and an uneven playing field for
                 employers who properly classify their workers. Although independent
                 contracting relationships can be advantageous for workers and
                 businesses, some employees maybe intentionally misclassified as a
                 means to cut costs and avoid compliancewith labor laws.1

            As alleged in more detail below, that is exactly what the Defendant is doing in this case.

            3.        Plaintiff worked at Defendant’s principal place of business located at 2120

    Eubank Blvd, Albuquerque, New Mexico 87112.

            4.        Defendants failed to pay Plaintiff minimum wages and overtime wages for all

    hours worked in violation of 29 U.S.C. §§ 206 and 207 of the FLSA.

            5.        Defendants’ conduct violates the           FLSA, which requires non-exempt

    employees to be compensated for their overtime work at a rate of one and one-half (1 ½)

    times their regularrate of pay. See 29 U.S.C. § 207(a).

            6.        Furthermore, Defendants’ practice of failing to pay tipped employees pursuant

    to29 U.S.C. § 203(m), violates the FLSA’s minimum wage provision. See 29 U.S.C. § 206.

            7.        Plaintiff brings a collective action to recover the unpaid overtime

    compensation and minimum wage owed to her individually and on behalf of all other

    similarly situated employees, current and former, of Defendants. Members of the Collective



1
 See DOL Admin. Interp. No. 2015-1, available at http://www.dol.gov/whd/workers/Misclassification/AI-
2015_1.pdf

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  Action are hereinafterreferred to as “FLSA Class Members.”

          8.     As a result of Defendants’ violations, Plaintiff and the FLSA Class Members

  seek to recover double damages for failure to pay minimum wage, overtime liquidated

  damages,interest, and attorneys’ fees.

  II.     PARTIES

          9.     Plaintiff is an individual adult resident of the State of New Mexico.

  Furthermore, Plaintiff was employed by Defendants and qualifies as an “employee” of

  Defendants as defined by the FLSA, 29 U.S.C. § 203(e)(1).

          10.    The FLSA Class Members are all current and former exotic dancers who

  worked at the TD’S GOLD EUBANK at any time starting three (3) years before this

  Complaint was filed, up to the present.

          11.    DREAM STREET, L.L.C. D/B/A TD’S GOLD EUBANK (Defendant TD’S

  GOLD or The Club) is a New Mexico Corporation with its principal place of business at 2120

  Eubank Blvd, Albuquerque, New Mexico 87112. At all times mentioned herein, was an

  “employer” or “joint employer” as defined by the FLSA, 29 U.S.C. § 203(d) and (g). DREAM

  STREET, L.L.C. may be served via its agent for service of process, Johanna C. Box, 4801

  Lang Avenue, NE, Suite 110, Albuquerque, New Mexico 87109.

          12.    DAVID A STREUBEL (Streubel) is an owner and president, secretary and

  director of DREAM STREET, L.L.C. D/B/A TD’S GOLD EUBANK and may be served at

  2120 Eubank Blvd, Albuquerque, New Mexico 87112 or wherever he may be found.

          13.    Streubel acted directly or indirectly on behalf of the Club and, at all times

  mentioned herein was an “employer” or “joint employer” of Plaintiff within the meaning of

  the FLSA. He exerted operational and management control over Defendant TD’S GOLD



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  including day to day management. He was and is, frequently present at, owned, directed,

  controlled and managed the operations at the Club. He also controlled the nature, pay

  structure, and employment relationship of Plaintiff and the FLSA Class Members. Streubel

  had at all times relevant to this lawsuit, the authority to hire and fire employees of the Club,

  the authority to direct and supervise the work of employees, the authority to sign on the

  business’ checking accounts, including payroll accounts, and the authority to make decisions

  regarding employee compensation and capital expenditures. Additionally, he was responsible

  for the day-to-day affairs of the Club. In particular, he was responsible for determining

  whether Defendant TD’S GOLD complied with the FLSA.

          14.    At all material times, Defendants have been an enterprise in commerce or in

  the production of goods for commerce within the meaning of 29 U.S.C. § 203(r)(1) of the

  FLSA because they have had employees at their club engaged in commerce, which has

  travelled in interstate commerce, including food and alcohol sales, as well as serving and

  catering to patrons from out of state. Moreover, because of Defendants’ interrelated activities,

  they function in interstate commerce. 29 U.S.C. § 203(s)(1).

          15.    Furthermore, Defendants have had, and continue to have, an annual gross

  business volume in excess of the statutory standard.

          16.    At all material times during the three (3) years prior to the filing of this action,

  Defendants categorized all dancers/entertainers employed by Defendants as “independent

  contractors” and have failed and refused to pay wages or compensation to such

  dancers/entertainers. Plaintiff was an individual employee who engaged in commerce or in

  the production of goods for commerce as required by 29 U.S.C. §§ 206-207.

          17.    Plaintiff is informed and believes that, at all relevant times herein, Defendants


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  engaged in the acts alleged herein and/or condoned, permitted, authorized, and/or ratified the

  conduct of its employees and agents, and other Defendants and are vicariously or strictly liable

  for the wrongful conduct of its employees and agents as alleged herein.

            18.   Plaintiff is informed and believes, and on that basis alleges that, each of the

  Defendants acted, in all respects pertinent to this action, as the agent or employee of each

  other, and carried out a joint scheme, business plan, or policy in all respect thereto and,

  therefore, the acts of each of these Defendants are legally attributable to the other Defendants,

  and that these Defendants, in all respects, acted as employers and/or joint employers of

  Plaintiff in that each of them exercised control over her wage payments and control over her

  duties.

            19.   Plaintiff is informed and believes, and on that basis alleges that, at all

  relevant times, each and every Defendant has been the agent, employee, representative,

  servant, master, employer, owner, agent, joint venture, and alter ego of each of the other and

  each was acting within the course and scope of his or her ownership, agency, service, joint

  venture and employment.

            20.   At all times mentioned herein, each and every Defendant was the successor of

  the other and each assumes the responsibility for the acts and omissions of all other Defendant.

  III.      VENUE AND JURSIDICTION

            21.   This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

  § 1331 because this action arises under the FLSA, 29 U.S.C. §§ 201, et seq.

            22.   Venue is proper in this District because all or a substantial portion of the events

  forming the basis of this action occurred in this District. Defendants’ club is located in this

  District and Plaintiff worked in this District.



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        IV.               FACTUAL ALLEGATIONS

      2124 Eubank Blvd NE

                          9.    Defendant operates an adult-oriented entertainment facility located at 2120

        Eubank Blvd, Albuquerque, New Mexico 87112. The picture below depicts the outside of the

        Club.




                                                                                                        Image capture: Mar 2021   © 2021 Google

Albuquerque, New Mexico
                          23.   At all times mentioned herein, Defendants were “employer(s)” or “joint
      Google

Street View

        employer(s)” of Plaintiff.

                          24.   At all times during the three (3) years prior to the filing of the instant action,

        Defendants categorized all dancers/entertainers employed by Defendants as “independent

        contractors” and have failed and refused to pay wages to such dancers.

                          25.   At all times relevant to this action, Defendants exercised a great deal of

        operational and management control over the subject club, particularly in the areas of terms

        and conditions of employment applicable to dancers and entertainers.

                          26.   Plaintiff began working as a dancer for Defendant in 2017 to March 17,

        2020.

                          27.   The primary duty of an entertainer is to dance and entertain customers and give

       them a good experience. Specifically, an entertainer performs stage and table dances, and



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  entertains customers on an hourly basis.

         28.      Stated differently, entertainers dance on stage, perform table dances, and

  entertain customers in VIP rooms, all while nude or semi-nude.

         29.      Plaintiff worked and performed at the adult-oriented entertainment facility

  multiple shifts per week. Plaintiff was an integral part of Defendants’ business which operated

  solely as an adult-oriented entertainment facilities featuring nude or semi-nude female

  entertainers.

         30.      Defendants did not pay entertainers on an hourly basis.

         31.      Defendants exercised significant control over Plaintiff during her shifts and

  would demand that Plaintiff stay until late in the morning if she worked.

         32.      Defendants set prices for all VIP performances.

         33.      Defendants set the daily cover charge for customers to enter the facility and had

  complete control over which customers were allowed in the facility.

         34.      Defendants controlled the means and manner in which Plaintiff could perform.

         35.      Defendants had the authority to suspend, fine, fire, or otherwise discipline

  entertainers for non-compliance with their rules regarding dancing.

         36.      Defendants actually suspended, fined, fired, or otherwise disciplined

  entertainers for non-compliance with their rules regarding dancing.

         37.      Although Defendants allowed entertainers to choose their own costumes,

  Defendants reserved the right to decide what a particular entertainer was allowed to wear on

  the premises. In order to comply with the Club’s dress and appearance standards, Plaintiff

  typically expended approximately thirty (30) minutes of time each shift getting ready for work

  without being paid any wages for such time getting ready. Defendants did enforce the dress



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  code on the entertainers, to the extent such may have been required as a sexually oriented

  business.

         38.       Plaintiff was compensated exclusively through tips from Defendants’

  customers. That is, Defendants did not pay Plaintiff whatsoever for any hours worked at their

  establishment.

         39.       Defendants also required Plaintiff to share her tips with Defendants, and other

  non-service employees who do not customarily receive tips, including disk jockeys and

  security personnel. Defendants required Plaintiff and other entertainers to tip out the manager

  at least 10% of her total nightly earnings each, DJ and door staff at least 5% of her nightly

  earnings each, and house at least 10% of her nightly earnings, as well as other non-entertainers

  who the entertainers interacted with at the Club.

         40.       Defendants are in violation of the FLSA’s tipped-employee compensation

  provision, 29 U.S.C. § 203(m), which requires employers to pay a tipped employee a minimum

  of $2.13 per hour. Defendants also violated 29 U.S.C. § 203(m) when they failed to notify

  Plaintiff about the tip credit allowance (including the amount to be credited) before the credit

  was utilized. That is, Defendants’ exotic dancers were never made aware of how the tip credit

  allowance worked or what the amounts to be credited were. Furthermore, Defendants violated

  29 U.S.C. § 203(m) because they did not allow Plaintiff to retain all of her tips and instead

  required that they divide her tips amongst other employees who do not customarily and

  regularly receive tips. Because Defendants violated the tip-pool law, Defendants lose the right

  to take a credit toward minimum wage.

         41.       Defendants exercised significant control over Plaintiff and all of its entertainers

  through written and unwritten policies and procedures. Defendants fined entertainers for failing



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  to comply with management’s rules, including a fine for missing a meeting or for leaving a

  shift early. The Club controlled how the entertainers dressed, including that each entertainer

  must wear dance heels at all times they were on the floor or stage. Plaintiff, and similarly

  situated entertainers, had to sign in each shift and needed permission to leave at the end of a

  shift, although it is unknown if the Club kept up with the records of such accurately.

         42.     Defendants also required Plaintiff and other entertainers at the Club to pay in

  order to work. Defendants required entertainers to pay at least $10 in daytime house fees and

  $25 in nighttime house fees to the Club in order to work each shift.

         43.     Defendants provided and paid for all advertising and marketing efforts

  undertaken on behalf of the Club.

         44.     Defendants paid for the buildings used by the Club, maintenance of the

  facilities, the sound systems, stages, lights, beverages and inventory used at the facilities.

         45.     Defendants made all hiring decisions regarding wait staff, security, entertainers,

  managerial and all other employees on the premises.

         46.     Defendants’ opportunity for profit and loss far exceeded Plaintiff’s opportunity

  for profit and loss from work at the Club.

         47.     Nude dancing is an integral part of the Club’s operations. The Club’s

  advertising and logo prominently displays nude dancing for its customers. TD’s GOLD is well

  known as a “strip club.”

         48.     Defendants need entertainers like Plaintiff to successfully and profitably operate

  the TD’S GOLD’s business model.

         49.     The position of entertainer requires no managerial skill of others.

         50.     The position of entertainer requires little other skill or education, formal or



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  otherwise.

          51.     The only requirements to become an entertainer at TD’S GOLD are “physical

  attributes” and the ability to dance seductively. The amount of skill required is more akin to an

  employment position than that of a typical independent contractor. Defendants do not require

  prior experience as an entertainer or any formal dance training as a job condition or prerequisite

  to employment. Defendants do not require an audition or any try-out process or provide any

  on-the-job training. Defendants do not require the submission of a resume or any educational

  background as a required to be hired. If Plaintiff or any other potential entertainer wants to

  perform, they just need to comply with the legal requires of the city of Albuquerque and State

  of New Mexico.

          52.     Defendants failed to maintain records of wages, fines, fees, tips and gratuities

  and/or service charges paid or received by entertainers.

          53.     Plaintiff was not paid an hourly minimum wage or any hourly wage or salary

  despite being present at Defendants’ facility and required to work and entertain its customers

  at any time during an eight-plus (8+) hour work shift.

          54.     Plaintiff was not paid overtime wages at one-and-a-half (1½) times the regular

  minimum wage rate for any hours worked despite being present at Defendants’ facility and

  required to work and entertain its customers for longer than eight (8) hours per shift.

          55.     Plaintiff was not paid an hourly minimum wage for the typical thirty (30)

  minutes of time expended prior to each shift to get ready for work, including applying makeup

  and hair, and to comply with Defendants’ dress and appearance standards.

          56.     The FLSA Class Members had the same pay structure and were under the same

  controls as Plaintiff.



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         57.     Plaintiff and FLSA Class Members would work over forty (40) hours in some

  weeks each worked for Defendants.

         58.     Defendants have never paid Plaintiff and the FLSA Class Members any amount

  as wages whatsoever and have instead unlawfully required Plaintiff and FLSA Class Members

  to pay them for the privilege of working.

         59.     The only source of monies received by Plaintiff (and the class she seeks to

  represent) relative to their employment with Defendants came in the form of gratuities received

  directly from customers, a portion of which Plaintiff and the FLSA Class Members were

  required to pay to Defendants.

         60.     Although Plaintiff and the FLSA Class Members are required to and do in fact

  frequently work more than forty (40) hours per week, they are not compensated at the FLSA

  mandated time-and-a-half rate for hours in excess of forty (40) per workweek. In fact, they

  receive no compensation whatsoever from Defendants and thus, Defendants violate the

  minimum wage requirement of FLSA. See 29 U.S.C. § 206.

         61.     Defendants’ method of paying Plaintiff in violation of the FLSA was willful

  and was not based on a good faith and reasonable belief that its conduct complied with the

  FLSA. Defendants misclassified Plaintiff with the sole intent to avoid paying her in accordance

  to the FLSA; the fees and fines described herein constitute unlawful “kickbacks” to the

  employer within the meaning of the FLSA, and Plaintiff is entitled to restitution of such fines

  and fees.

         62.     Plaintiff and FLSA Class Members who worked at TD’S GOLD performed

  precisely the same job duties - dancing and entertaining at the Club.

         63.     Plaintiff and FLSA Class Members who worked at TD’S GOLD during the



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  applicable limitations period(s) were subject to the same work rules established by the

  Defendants as identified above.

         64.     Plaintiff and FLSA Class Members at TD’S GOLD were subject to the terms

  and conditions of employment and the same degree of control, direction, supervision,

  promotion and investment imposed or performed by Defendants.

         65.     Plaintiff and FLSA Class Members at TD’S GOLD during the applicable

  limitations period(s) were subject to the same across-the-board, uniformly applied corporate

  policy mandated by Defendants.

         66.     Plaintiff and the FLSA Class Members at TD’S GOLD, during the applicable

  limitations period, were subject to the same fees and fines imposed by Defendants.

         67.     Defendants required Plaintiff to pay fees to Defendants and other TD’S GOLD

  employees, including but not limited to security personnel, house moms, and disc jockeys.

         68.     Defendants required Plaintiff to pay fees to Defendants and other TD’S GOLD

  employees for reasons other than the pooling of tips among employees who customarily and

  regularly received tips.

         69.     As a result of Defendants’ across-the-board, standard operating procedure of

  mischaracterizing dancers/entertainers as “independent contractors” and their consequent

  failure to pay any wages or compensation whatsoever, it is a certainly that numerous other

  current and former dancers and entertainers who worked at TD’S GOLD during the applicable

  limitations period would elect to participate in this action if provided notice of same.

         70.     Upon information and belief, more than fifty (50) dancers and entertainers have

  worked at TD’S GOLD during the three (3) to five (5) years prior to the filing of this action.

         71.     Plaintiff is “similarly situated” to the 29 U.S.C. § 216(b) class of persons she



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  seeks to represent and will adequately represent the interests of the class.

          72.     Plaintiff has hired Counsel experienced in class actions and in collective actions

  under 29 U.S.C. § 216(b) who will adequately represent the group of entertainers.

          73.     Defendants failed to keep records of tips, gratuities and/or service charges paid

  to Plaintiff or any other entertainer and failed to maintain and furnish wage statements to

  Plaintiff.

          74.     Federal law mandates that an employer is required to keep for three (3) years

  all payroll records and other records containing, among other things, the following information:

          a.      The time of day and day of week on which the employees’ work week begins;

          b.      The regular hourly rate of pay for any workweek in which overtime compensation is

  due under section 7(a) of the FLSA;

          c.      An explanation of the basis of pay by indicating the monetary amount paid on a per

  hour, per day, per week, or other basis;

          d.      The amount and nature of each payment which, pursuant to section 7(e) of the FLSA,

  is excluded from the “regular rate”;

          e.      The hours worked each workday and total hours worked each workweek;

          f.      The total daily or weekly straight time earnings or wages due for hours worked during

  the workday or workweek, exclusive of premium overtime compensation;

          g.      The total premium for overtime hours. This amount excludes the straight-time earnings

  for overtime hours recorded under this section;

          h.      The total additions to or deductions from wages paid each pay period including

  employee purchase orders or wage assignments;

          i.      The dates, amounts, and nature of the items which make up the total additions and

  deductions;

          j.      The total wages paid each pay period; and


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           k.      The date of payment and the pay period covered by payment.

           29 C.F.R. 516.2, 516.5.

           75.     Defendants have not complied with federal law and have failed to maintain such

  records with respect to Plaintiff and the FLSA Class Members. Because Defendants’ records

  are likely inaccurate and/or inadequate, Plaintiff and the FLSA Class Members can meet their

  burden under the FLSA by proving that they, in fact, performed work for which they were

  improperly compensated, and produce sufficient evidence to show the amount and extent of

  their work “as a matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens

  Pottery Co., 328 U.S. 680, 687 (1946). Plaintiff seeks to put Defendants on notice that she

  intends to rely on Anderson to provide the extent of their unpaid work.


           A.      INDIVIDUAL LIABILITY UNDER THE FLSA

           76.     In Lamonica v. Safe Hurricane Shutters, Inc., the U.S. Court of Appeals for

  the Eleventh Circuit held that individuals can be liable for FLSA violations under an

  expansive interpretation of “employer” for directors and officers. Lamonica v. Safe Hurricane

  Shutters, Inc., 711 F.3d 1299 (11th Cir. 2013). The FLSA defines “employer” as “any person

  acting directly or indirectly in the interest of an employer in relation to an employee.” 29

  U.S.C. § 203(d). The Fifth Circuit stated “[t]he dominant theme in the case law is that those

  who have operating control over employees within companies may be individually liable for

  FLSA violations committed by the companies.” Gray v. Powers, 673 F.3d 352, 357 (5th Cir.

  2012).

           77.     Where an individual exercise “control over the nature and structure of the

  employment relationship,” or “economic control” over the relationship, that individual is an

  employer within the meaning of the FLSA and is subject to liability. Lambert v. Ackerley 180


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  F.3d 997 (9th Cir. 1999) Factors related to “economic control,” which included ownership

  interest, operational control of significant aspects of the day-to-day functions, the power to

  hire and fire employees, determine salaries, and the responsibility to maintain employment

  records. Gray, 673 F.3d at 355 (citing Williams v. Henagan, 595 F.3d 610, 615 (5th Cir.

  2010).

           78.    David Streubel is individually liable for failing to pay Plaintiff her wages. The

  actual identities of other managers and owners are unknown at this time. As stated before,

  Plaintiff will be amending to include individuals liable pursuant to Gray v. Powers, 673 F.3d

  352, 357 (5th Cir. 2012).

  V.       COLLECTIVE ACTION ALLEGATIONS

           79. Plaintiff hereby incorporates by reference and re-alleges each and every

  allegation set forth in each and every preceding paragraph as though fully set forth herein

           80. Plaintiff brings this action as an FLSA collective action pursuant to 29 U.S.C.

  § 216(b) on behalf of all persons who were or are employed by Defendants as exotic

  dancers/entertainers at any time during the three (3) years prior to the commencement of this

  action to present.

           81.    Plaintiff has actual knowledge that FLSA Class Members have also been

  denied overtime pay for hours worked over forty (40) hours per workweek and have been

  denied pay atthe federally mandated minimum wage rate. That is, Plaintiff worked with other

  dancers/entertainers at TD’S GOLD. As such, she has firsthand personal knowledge of the

  same     pay   violations   throughout    Defendants’    club.   Furthermore,     other   exotic

  dancers/entertainers at Defendants’ club have shared with her similar pay violation

  experiences as those described in this Complaint.


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          82.     Other employees similarly situated to Plaintiff work or have worked at TD’S

  GOLD but were not paid overtime at the rate of one and one-half (1 ½) their regular rate when

  those hours exceeded forty (40) hours per workweek. Furthermore, these sameemployees

  were denied pay at the federally mandated minimum wage rate.

          83.     Although Defendants permitted and/or required the FLSA Class Members to

  work in excess of forty (40) hours per workweek, Defendants have denied them full

  compensation for their hours worked over forty (40). Defendants have also denied them full

  compensation at the federally mandated minimum wage rate.

          84.     FLSA Class Members perform or have performed the same or similar work

  as the Plaintiff.

          85.     FLSA Class Members regularly work or have worked in excess of forty (40)

  hours during a workweek.

          86.         FLSA Class Members regularly work or have worked and did not receive

  minimum wage.

          87.     FLSA Class Members are not exempt from receiving overtime and/or pay at

  the federally mandated minimum wage rate under the FLSA.

          88.     As such, FLSA Class Members are similar to Plaintiff in terms of job duties,

  pay structure, misclassification as independent contractors and/or the denial of overtime and

  minimum wage.

          89.     Defendants’ failure to pay overtime compensation and hours worked at the

  minimum wage rate required by the FLSA results from generally applicable policies or

  practicesand does not depend on the personal circumstances of the FLSA Class Members.

          90.     The experiences of the Plaintiff, with respect to her pay, are typical of



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  theexperiences of the FLSA Class Members.

           91.     The specific job titles or precise job responsibilities of each FLSA Class

  Memberdoes not prevent collective treatment.

           92.     All FLSA Class Members, irrespective of their particular job requirements,

  are entitled to overtime compensation for hours worked in excess of forty (40) during a

  workweek.

           93.     All FLSA Class Members, irrespective of their particular job requirements,

  are entitled to compensation for hours worked at the federally mandated minimum wage rate.

           94.     Although the exact number of damages may vary among FLSA Class

  Members, the damages for the FLSA Class Members can be easily calculated by a simple

  formula. The claims of all FLSA Class Members arise from a common nucleus of facts.

  Liability is based ona systematic course of wrongful conduct by the Defendants that caused

  harm to all FLSA Class Members.

           95.      As such, Plaintiff brings her FLSA claims as a collective action on behalf of

  the following class:

                 All of Defendant’s current and former exotic dancers/entertainers
                 whoworked at TD’S GOLD EUBANK located in Albuquerque,
                 New Mexico at any time starting three years before this Complaint
                 was filed.

  VI.      CAUSES OF ACTION
                                  FIRST CAUSE OF ACTION
                                 FAILURE TO PAY MINIMUM WAGE

           96.     Plaintiff hereby incorporates by reference and re-alleges each and every

  allegation set forth in each and every preceding paragraph as though fully set forth herein.

           97.     Defendants are engaged in “commerce” and/or in the production of “goods”


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  for “commerce” as those terms are defined in the FLSA.

          98.    Defendants operate an enterprise engaged in commerce within the meaning of

  the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and

  because its annual gross volume of sales made is more than five hundred thousand U.S.

  Dollars ($500,000).

          99.    Defendants failed to pay Plaintiff minimum wage in violation of 29 U.S.C. §

  206.

          100.   Based upon the conduct alleged herein, Defendants knowingly, intentionally

  and willfully violated the FLSA by not paying Plaintiff the minimum wage under the FLSA.

          101.   Throughout the relevant period of this lawsuit, there is no evidence that

  Defendants’ conduct that gave rise to this action was in good faith and based on reasonable

  grounds. In fact, Defendants continued to violate the FLSA long after it learned that its

  misclassification scheme and compensation policies were illegal.

          102.   Due to Defendants’ FLSA violations, Plaintiff is entitled to recover from

  Defendants, minimum wage compensation and an equal amount in the form of liquidated

  damages, as well as reasonable attorneys’ fees and costs of the action, including interest,

  pursuant to 29 U.S.C. § 216(b).

                               SECOND CAUSE OF ACTION
                              FAILURE TO PAY OVERTIME WAGES


          103.   Plaintiff hereby incorporates by reference and re-alleges each and every

  allegation set forth in each and every preceding paragraph as though fully set forth herein.

          104.   Each Defendant is an “employer” or “joint employer” of Plaintiff within the

  meaning of the FLSA, 29 U.S.C. § 203(d).


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            105.    Defendants are engaged in “commerce” and/or in the production of “goods”

   for “commerce” as those terms are defined in the FLSA.

            106.    Defendants operate an enterprise engaged in commerce within the meaning of

   the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and because

   its annual gross volume of sales made is more than five hundred thousand U.S. Dollars

   ($500,000.00).

            107.    Defendants failed to pay Plaintiff the applicable overtime wage for each hour

   in excess of forty (40) during each workweek in which she worked in violation of 29 U.S.C.

   § 207.

            108.    Based upon the conduct alleged herein, Defendants knowingly, intentionally

   and willfully violated the FLSA by not paying Plaintiff the overtime wage required under the

   FLSA.

            109.        Throughout the relevant period of this lawsuit, there is no evidence

that Defendants’ conduct that gave rise to this action was in good faith and based on reasonable

grounds. In fact, Defendants continued to violate the FLSA long after it learned that its

misclassification scheme and compensation policies were unlawful.

            110.    Due to Defendants’ FLSA violations, Plaintiff is entitled to recover from

   Defendants, overtime wage compensation and an equal amount in the form of liquidated

   damages, as well as reasonable attorneys’ fees and costs of the action, including interest,

   pursuant to 29 U.S.C. § 216(b).

                                  THIRD CAUSE OF ACTION
                                   UNLAWFUL TAKING OF TIPS

            111.    Plaintiff hereby incorporates by reference and re-alleges each and every

   allegationset forth in each and every preceding paragraph as though fully set forth herein.


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          112.   Plaintiff customarily and regularly received more than thirty U.S. Dollars

  ($30.00) a month in tips and therefore is a tipped employee as defined in the FLSA, 29 U.S.C.

  § 203(t), see also 29 C.F.R. § 531.50.

          113.   At all relevant times, Defendants were “employer(s)” or “joint employer(s)” of

  Plaintiff within the meaning of the FLSA, 29 U.S.C. § 203(d).

          114.   Defendants are engaged in “commerce” and/or in the production of “goods”

  for “commerce” as those terms are defined in the FLSA.

          115.   Defendants operate an enterprise engaged in commerce within the meaning for

  the FLSA, 29 U.S.C. § 203(s)(1), because it has employees engaged in commerce, and because

  its annual gross volume of sales made is more than five hundred thousand U.S. Dollars

  ($500,000).

          116.   Under TIPA:

                 [a]n employer may not keep tips received by its employees for any
                 purpose including allowing managers or supervisors to keep any
                 portion of employees’ tips, regardless of whether or not it takes a
                 tip credit.

          29 U.S.C. § 203.

          117.   Defendants kept a portion of tips paid to Plaintiff by Defendants’ customers in

  theform of fees, fines, mandatory charges and other payments to management, house moms,

  disc jockeys, and floor men in violation of TIPA.

          118.   Defendants required Plaintiff to participate in an illegal tip pool, which

  included employees who do not customarily and regularly receive tips, and do not have more

  than a de minimis, if any, interaction with customer leaving the tips (such as the Club DJ,

  security, and management). See U.S. Dep’t of Labor, Wage and Hour Division, “Fact Sheet #

  15: Tipped employees under the Fair Labor Standards Act (FLSA).”


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          119.   The contribution Defendants required Plaintiff to make after each shift was

  arbitrary and capricious and distribution was not agreed to by Plaintiff or other dancers; rather,

  it was imposed upon Plaintiff and other dancers.

          120.   By requiring Plaintiff to pool her tips with club management, including the

  individual Defendants named herein, Defendants “retained” a portion of the tips received by

  Plaintiff in violation of the FLSA.

          121.   Defendants did not make any effort, let alone a “good faith” effort, to comply

  with the FLSA as it relates to compensation owed to Plaintiff.

          122.   At the time of their illegal conduct, Defendants knew or showed reckless

  disregard that the tip-pool which they required Plaintiff to contribute included non-tipped

  employees and, therefore, was statutorily illegal. In spite of this, Defendants willfully failed

  andrefused to pay Plaintiff the proper amount of the tips to which she was entitled.

          123.   Defendants’ willful failure and refusal to pay Plaintiff the tips she earned

  violates the FLSA.

          124.   Defendants kept a portion of tips paid to Plaintiff by Defendants’ customers

  in the form of fees, fines, mandatory charges and other payments to management, house

  moms, discjockeys, and door men in violation of TIPA.

          125.   As a result of the acts and omissions of the Defendants as alleged herein, and

  pursuant to 29 U.S.C. §§ 216(b) and 260, Plaintiff is entitled to damages in the form of all

  misappropriated tips, plus interest; as liquated damages, an amount equal to all

  misappropriated tips, mandatory attorneys’ fees, costs, and expenses.

                               FOURTH CAUSE OF ACTION
                                   ILLEGAL KICKBACKS
          126.   Plaintiff hereby incorporates by reference and re-alleges each and every

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  allegationset forth in each and every preceding paragraph as though fully set forth herein.
          127.    Defendants required Plaintiff to pay monetary fees to Defendants and other
  TD’S GOLD employees who did not work in positions that are customarilyand regularly

  tipped, in violation of 29 U.S.C. § 203(m).
          128.    Defendants’ requirement that Plaintiff pay fees to Defendants and other TD’S
  GOLD employees violated the “free and clear” requirement of 29 C.F.R. § 531.35.
          129.    Because Defendants violated the “free and clear” requirement of 29 C.F.R. §

  531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-credit provision with

  respect to Plaintiff’s wages

          130.        Because Defendants violated the “free and clear” requirement of 29 C.F.R.

   §531.35, all monetary fees imposed on Plaintiff are classified as illegal kickbacks.
          131.    Plaintiff is entitled to recover from Defendants all fees that Defendants
  required Plaintiff to pay in order to work at TD’S GOLD, involving but not limited tohouse
  fees and tip sharing.
                            FIFTH CAUSE OF ACTION
                 FORCED TIPPING & SUBSIDIZATION OF OWNERSHIP
          132.    Plaintiff hereby incorporates by reference and re-alleges each and every

  allegationset forth in each and every preceding paragraph as though fully set forth herein.
          133.    Defendants required Plaintiff to pay monetary fees to other TD’S GOLD
  employees who did not work in positions that are customarily and regularly tipped, in violation
  of 29 U.S.C. § 203(m).
          134.    Defendants’ requirement that Plaintiff pay fees to other TD’S GOLD employees
  violated the “free and clear” requirement of 29 C.F.R. § 531.35.
          135.        Because Defendants violated the “free and clear” requirement of 29 C.F.R.

  § 531.35 as alleged above, they were not entitled to utilize the FLSA’s tip-credit provision with

  respect to Plaintiff’s wages.



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          136.   Plaintiff is entitled to recover from Defendants all fees that Defendants required
  Plaintiff to pay other employees in order to work at TD’S GOLD, involving but not limited to
  forced tip sharing.

                                 DEMAND FOR JURY TRIAL
         137.    Plaintiff hereby demands a trial by jury for all such triable claims.

                                    PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests of this Court the following relief:
             1. For compensatory damages according to proof at trial of at least $100,000;
             2. For special damages according to proof at trial;
             3. For restitution of unpaid monies;

             4. For attorneys’ fees;
             5. For costs of suit incurred herein;
             6. For statutory penalties;
             7. For civil penalties;
             8. For pre-judgment interest;
             9. For post-judgement interest;
             10. For general damages in an amount to be proven at trial;

             11. For such other and further relief as the tribunal may deem just and proper.

       Dated: September 3, 2021                         Respectfully Submitted,
                                                        ELLZEY & ASSOCIATES, PLLC
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